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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
__________________________________________
 LIDA GREEN,                                 )
                                             )
                   Plaintiff,                )
       v.                                    )
                                             ) 19-cv-00607-EEF-MLH
 PATRICIA WHITE, ABEL MOSLEY, THE            )
 CHARLEY & ETHER MOSLEY CORPORATION, ) Jury Trial Demanded
 and INSURANCE COMPANIES 1-10,               )
                                             )
                 Defendants.                 )


                                               COMPLAINT
                                       I.      INTRODUCTION

       1.      Plaintiff Lida Mosley Green lives in DeSoto Parish, and is an elder with dementia.

       2.      Defendants Patricia Mosley White and Abel Mosley are family members of Ms. Green.

They manage two corporations that have control over the Mosley family’s land. Ms. Green owns a

percentage of each corporation.

       3.      As a result, Ms. Green is entitled to receive periodic checks that are her share of profits

from use of the family land’s oil and timber resources.

       4.      But in recent years, Defendants have been forging Ms. Green’s name on the endorsement

line of her checks, and then depositing the money into a Chase Bank account they control.

       5.      Ms. Green’s representatives discovered this scheme in 2018, after obtaining copies of the

stolen, cancelled checks from the natural resource companies that issued them.

       6.      In September 2018, a Chase Bank investigation confirmed the fraud, determining that

“Ms. Patricia Mosley White deposited checks made payable [to] Ms. Lida Green into an account that

Ms. Patricia Mosley White is a signer on.”

       7.      Now, Ms. Green seeks compensation and accountability for Defendants’ theft, fraud, and

breaches of fiduciary duty.



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                                           II.    JURISDICTION

        8.     This Court has jurisdiction over this matter under diversity jurisdiction.

        9.     The Plaintiff is domiciled in Louisiana, and all Defendants are domiciled in Texas.

        10.    The amount in controversy, including attorneys’ fees, treble damages for fraud and

LUPTA violations, and special damages, is greater than $75,000.

        11.    The venue is proper in the Western District of Louisiana under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events giving rise to the claim occurred in DeSoto Parish, Louisiana

situated in the Western District of Louisiana.

                                           III.   THE PARTIES

                                                   Plaintiff

        12.    Plaintiff Lida Mosley Green is of suitable age to file this suit. At all relevant time during

this suit, Plaintiff was a resident of DeSoto Parish, Louisiana.

                                                  Defendants

        13.    Defendant Patricia Mosley White is a resident of Texas. She is a manager and officer of

the Family Entities.

        14.    Defendant Abel Mosley is a resident of Texas. He is a manager and officer of the Family

Entities.

        15.    Defendant Charley & Ether Mosley Corporation (the “Corporation”) is a Texas

corporation, with a File Number of 0801406165. Its registered agent is Patricia M. White, with an office

and mailing address of 9923 Wiltshire Way, Houston TX 77089. The Corporation’s principal place of

business is Houston, Texas.

        16.    Plaintiff is a partial owner of the Corporation.

        17.    Defendants ABC Insurance Companies are as yet unknown insurance agencies doing

business in this State who provide or provided insurance that covered Patricia White and Abel Mosley

against the kinds of claims pled herein.


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        18.

                                                IV.   FACTS
    A. Plaintiff owns part of the Family Entities that manage the Mosley Family land.

        19.     Charley and Lizzie Mosley were farmers in north Louisiana at beginning of the 20th

Century.

        20.     Charley and Lizzie had several children, including a son, Charley Mosley, sometimes

spelled 'Charlie,' who is the Plaintiff's father.

        21.     Charlie/Charley was married to Ether D. Mosley. They had 13 children (Plaintiff Lida

Mosley Green is one of those) and more than 40 grandchildren. Plaintiff's daughter, and power-of-

attorney holder, Joyce Richardson is one of their grandchildren.

        22.     From 1901 to 1904, Charley and Lizzie Mosley accumulated approximately 300 acres of

land in DeSoto Parish, Louisiana.

        23.     The land is used for timber, oil, and gas production.

        24.     To manage the family property, keep it together, and fairly apportion its profits, the

Mosley family set up two corporate entities. (The “Family Entities.”)

        25.     The first of the two entities is the Lizzie and Charlie Mosley, L.L.C., ( the “LLC”) a

Louisiana limited liability company with a mailing address of 9923 Wiltshire Way, Houston, TX 77089.

        26.     The LLC’s managers include Abel Mosely and Patricia White.

        27.     Plaintiff Lida Green owns approximately 2.5% of the LLC.

        28.     The second is The Charley & Ether Mosley Corporation, a Texas corporation. (The

“Corporation”.)

        29.     Patricia White and Abel Mosley are officers of the Corporation.

        30.     Plaintiff Lida Green owns part of the Corporation.

        31.     The family entities have received money from companies that have rights to use the

land’s natural resources, including Indigo Minerals, EP Energy, Walsh Timber Company, and Covey


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Park Oil.

   B. Defendants have stolen checks from Plaintiff by forging her signature and depositing them.

       32.     Plaintiff Lida Green has dementia. She is cared for by her biological son Dwight (who

was legally adopted by her parents as a baby) and her daughter Joyce Richardson.

       33.     Dwight takes care of her day-to-day needs, and Joyce manages her other affairs. Joyce is

the sole holder of power of attorney for Lida Green.

       34.     Defendants Pat White and Abel Mosley manage the affairs of the Family Entities.

       35.     Pat and Abel are responsible for receiving income from the various companies that use

the land’s natural resources, and distributing checks to the various family members who own parts of the

Family Entities.

       36.     Plaintiff’s daughter Joyce noticed that her mother wasn’t receiving her checks properly.

       37.     So Joyce investigated the missing checks by contacting some of the natural resource

companies that use the family land.

       38.     Two of the natural resource companies, El Paso E&P Company, L.P. and Indigo, sent

Joyce copies of checks made out to Ms. Green that had been deposited and returned to the companies.

       39.     Joyce found that someone had been intercepting checks made out to Lida Green, forging

Ms. Green’s name, and depositing them.

       40.     She discovered that this person was Defendant Pat White.

       41.     Most of the checks were deposited into an unknown Chase Bank account.

       42.     In at least one case, Pat White gave Ms. Green’s checks to a third party. For example, one

was deposited at the Kickapoo Corner store.

       43.     Some of the checks, in addition to Ms. Green’s forged signature, also had the name “P.

White” or “Patricia Mosely White.”

       44.     Defendant Patricia White has never had authority to sign for Lida Green on checks.

       45.     Plaintiff’s representatives asked Chase Bank to do an investigation into the stolen checks.


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          46.   On September 19, 2018, Chase Bank confirmed in writing that “Ms. Patricia Mosley

White deposited checks made payable Ms. Lida Green into an account that Ms. Patricia Mosley White is

a signer on.”

          47.   Table 1, below, shows details of the forged checks that have so far been discovered. Ms.

Green did not sign or endorse any of these checks. She received no money from these checks.

                 Table 1: Details of So-Far-Discovered Checks Stolen from Ms. Lida Green

 Check Date        Company                              Amount          Endorsement
 2/28/2011         El Paso E&P Company, L.P.            $117.27         Lida Green

                   El Paso E&P Company, L.P.                            Lida Mosely Green
 3/31/2011                                              $110.65         Patricia M White
 8/31/2011         El Paso E&P Company, L.P.            $136.21         Lida Green [unint.] Mosley White

                   El Paso E&P Company, L.P.                            Lida Green
 10/31/2011                                             $140.36         P. Mosely White
 1/31/2012         El Paso E&P Company, L.P.            $115.85         Lida Green
                                                                        Patricia Mosely White
                   El Paso E&P Company, L.P.                            Lida M. Green
                                                                        FOR DEPOSIT ONLY
                                                                        KICKAPOO NATION LLC
 4/30/2012                                              $166.55         DBA KICKAPOO CORNER
                   El Paso E&P Company, L.P.                            Lida M Green
 12/31/2012                                             $148.53
                   El Paso E&P Company, L.P.                            Lida M Green
 4/30/2013                                              $134.38         Patricia Mosely White
                   El Paso E&P Company, L.P.                            Lida Green
 5/30/2013                                              $140.84         P. White
                   El Paso E&P Company, L.P.                            Lida M. Green
 10/31/2013                                             $101.16         Patricia Mosely White
                                                                        Lida Green
 12/10/2014        Indigo                               $7.42
                                                                        Lida Green
 12/31/2015        Indigo                               $39.99
                                                                        Unknown
 12/15/2016        Indigo                               $23.75
                                                                        Unknown
 10/31/2017        Indigo                               $21.51



          48.   On information and belief, Abel Mosley knew about and approved of the theft of these

checks.

          49.   Figure 1 below, is an example of the forgery of Lida Green’s name, along with Patricia



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White’s name.



       Figure 1:       An example of one of the checks a forged signature of Lida Green on the
                       endorsement line, along with Patricia White’s name. This check never made it to
                       Lida Green.




       50.      Corroborating this is the fact that Pat White also stole money from Dwight Mosley. As

shown below, Pat White has been taking and depositing checks made out to Dwight, and not giving him

the money. He received no share of the timber proceeds, nor has he received a year-end check in the last

four years.

       Table 2: Details of So-Far-Discovered Checks Stolen from Dwight Mosley

 Check Date        Company                              Amount         Endorsement
 10/31/2011        El Paso E&P Company, L.P.            $140.37        D. Mosley
                                                                       P. Mosley White
 12/31/2012        El Paso E&P Company, L.P.            $148.51        Dwight J. Mosley




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 10/31/2013       El Paso E&P Company, L.P.              $101.13       D. Mosley
                                                                       Patricia Mosley White
Figure 2:      An example of one of the checks with a forged signature of Dwight Mosley, and also a
               signature of Pat White. This money never made it to Dwight Mosley.




     51.       On November 16, 2018, Plaintiff’s counsel brought these issues to Ms. White’s attention

via a letter, and requested an accounting per Louisiana and Texas law. Ms. White did not respond.

     52.       On multiple occasions, Plaintiff’s counsel contacted Defendants and their counsel, to

attempt to get to the bottom of this.

     53.       Plaintiff’s counsel indicated that “if there is an innocent explanation,” that “we are open

and ready to hear it.”

     54.       Defendants never provided any explanation whatsoever for why they were taking Ms.

Green’s checks.




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C.      The March 2019 Annual Meeting

       55.     On March 23, 2019, the LLC held its annual meeting in Gloster, Louisiana.

       56.     Pat White and Abel Mosley are officers of the LLC, and Abel ran the meeting.

       57.     Plaintiff sent her counsel as proxy to the meeting.

       58.     Plaintiff’s counsel tried to bring up the discovered misconduct and this proposed lawsuit

at the meeting, but Abel Mosley would not let him speak.

       59.     Then Abel Mosley took the meeting into closed session, excluding Plaintiff’s counsel.

       60.     During that closed session, Abel Mosley said that the proposed lawsuit has “nothing to

do” with the LLC.

       61.     But then, in open session, he suggested to the full membership that they resume making

annual contributions to the LLC to pay for litigation.

       62.     Also at the March 23, 2019, Annual Meeting, Plaintiff called for a vote to remove Abel

and Pat as Managers.

       63.     Plaintiff has an absolute right to call for such a vote.

       64.     The LLC’s Operating Agreement at Section V(5) says “The Members, at any time and

from time to time and for any reason, may remove any member of the Management Committee then

acting” and Section V(2)(l) says “The Members may, at any time, remove any Manager, with or without

cause, by the affirmative vote of a majority of all the votes entitled to be cast on the matter.”

       65.     But Abel, who was chairing the meeting, did not allow such a vote.

       66.     Nor did he allow Plaintiff to move to add any items to the Annual Meeting agenda.

       67.     At the meeting, Richard Hiller, counsel for the LLC, suggested that Plaintiff send him

any questions, and perhaps the matter could be resolved amicably.

       68.     On March 24, 2019, Plaintiff sent those questions to Mr. Hiller.

       69.     Neither Defendants nor Mr. Hiller answered any of the questions.


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     D.        Defendants engage in a retaliatory eviction of Ms. Green.

     70.       Plaintiff lives on land owned by the family estate.

     71.       On April 29, 2019, Pat White reached out to Plaintiff’s counsel to ask “set up a meeting”

to discuss Plaintiff’s concerns about the management of the family corporations.

     72.       That same day, Pat White and Abel Mosley caused a handwritten “eviction notice” to be

posted on Plaintiff’s door.

     73.       Abel Mosley was personally present when the eviction notice was posted.

     74.       The document was styled as a “eviction notice,” even though no Defendant owns the land

on which Plaintiff lives, nor does Dayton Mosley, the person listed on the notice as “homeowner”.

     75.       The land belongs to the estate, and a previous court proceeding established that Plaintiff

had a right to live there because she is a beneficiary of the estate.

     76.       Later on April 29, 2019, Plaintiff’s counsel responded to Ms. White, saying that he would

“be glad to discuss” the concerns about the management of the family corporations, but that in “order to

create the space for that conversation, however, you will need to stop all efforts to evict Ms. Green.”

     77.       Ms. White did not respond.

     78.       On May 6, 2019, Defendants caused eviction proceedings to be commenced against

Plaintiff in DeSoto Parish Justice of the Peace Court.

                                      V.      CLAIMS FOR RELIEF

                                     Count One – Theft / Conversion
                                      (Pat White and Abel Mosley)

     79.       Plaintiff realleges and incorporates each and every foregoing and following paragraph.

     80.       Defendants caused checks to be taken from Plaintiff.

     81.       Defendants had no right to the checks made out to Lida Green.

     82.       Defendants stole money from and converted the property of Lida Green when they



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diverted checks made out to her.

                                            Count Two – Fraud
                                       (Pat White and Abel Mosley)

        83.     Plaintiff realleges and incorporates each and every foregoing and following paragraph.

        84.     Fraud is a misrepresentation or suppression of the truth, including through silence or

inaction, intentionally made to obtain an unjust advantage or cause a loss to another. La. Civ. Code art.

1953.

        85.     By forging and causing to be forged Lida Green’s name on check endorsements,

Defendants misrepresented the truth.

        86.     They did so to cause a loss to Plaintiff, and an enrichment to themselves.

        87.     Furthermore, Defendants have caused to have the LLC’s listed domicile be 456 E. 72nd

St., Shreveport, LA.

        88.     But there are no records of the LLC at that location, nor does anyone representing the

LLC live or work there.

        89.     Plaintiff has asked for the location of the LLC’s records, and Defendants have refused to

provide it.

        90.     As such, Plaintiff has been unable to inspect the records as is her right per R.S.12:1319.

        91.     Furthermore, Abel Mosley obtained a fraudulent signature for Plaintiff on a power of

attorney dated December 24, 1990.

        92.     Mr. Mosley had a third-party sign Plaintiff’s name.

        93.     As recently as this year, Abel Mosley has represented to third parties that he has power of

attorney for Plaintiff.

        94.     Mr. Mosley has no power of attorney for Plaintiff.

        95.     Mr. Mosley never had power of attorney for Plaintiff.




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                                 Count Three – Unjust Enrichment
                                   (Pat White and Abel Mosley)

      96.     Plaintiff realleges and incorporates each and every foregoing and following paragraph.

      97.     Defendants unjustly enriched themselves when they forged or caused to be forged Lida

Green’s signature on check endorsement lines, and deposited the money into bank accounts they

controlled.

                Count Four – Breach of Fiduciary Duty and Operating Agreement
                                       (All Defendants)

      98.     Plaintiff realleges and incorporates each and every foregoing and following paragraph.

      99.     As officers and managers of the Family Entities, Defendants owe a fiduciary duty to

Plaintiff.

      100.    Defendants breached that fiduciary duty when they diverted checks made out to Lida

Green.

      101.    Defendants also breached that fiduciary duty when they failed to carry out the tasks

required by the Amended Operating Agreement of the Lizzie and Charlie Mosley, L.L.C. (dated July 30,

2005 and November 10, 2007),

      102.    For example, Defendants have failed to keep complete and accurate books and records of

the LLC.

      103.    Also, Defendants have required exorbitant sums for copying of the LLC’s records, asking

for as much as $5 per page.

      104.    Also, on November 11, 2018, Ms. Green requested a formal accounting of the Family

Corporations per La. R.S. 12:1319(B)(3) and Texas law.

      105.    Defendants refused to conduct a formal accounting despite there being good cause.

      106.    Also, Section VIII(4) of the LLC Operating Agreement provides that the management

committee has to send each member within 75 days after the end of the taxable year the following: (i) an


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Annual Financial Report; (ii) a report summarizing the fees and remunerations paid; (iii) tax

information.

     107.      The LLC operates on a calendar tax year.

     108.      But Defendants did not provide any of the documents required by Section VIII(4) within

75 days of the end of 2018, despite repeated requests by Plaintiff.

     109.      Also, the Operating Agreement at Section V(5) says “The Members, at any time and from

time to time and for any reason, may remove any member of the Management Committee then acting”

and Section V(2)(l) says “The Members may, at any time, remove any Manager, with or without cause,

by the affirmative vote of a majority of all the votes entitled to be cast on the matter”?

     110.      At the March 23, 2019, Annual Meeting Plaintiff called for a vote to remove Abel and

Pat as Managers.

     111.      Abel Mosley, who was chairing the meeting, would not allow such a vote.

     112.      Nor would he allow Plaintiff to move to add any items to the Annual Meeting agenda.

     113.      Also, on information and belief, there was never a proper election of Abel and Pat as

Managers of their family group.

                             Count Five – Breach of Mandate Obligations
                                           (Abel Mosley)

     114.      Plaintiffs reallege and incorporate each and every foregoing and following paragraph.

     115.      Article 3003 of Louisiana’s Civil Code provides that: “At the request of the principal, or

when the circumstances so require, the mandatary is bound to provide information and render an account

of his performance of the mandate.”

     116.      Abel Mosley purports to have had a power of mandate for Ms. Green.

     117.      In correspondence, including the March 24, 2019 letter, Ms. Green requested from Abel

Mosley an account of his performance of the mandate.

     118.      Abel Mosley never responded to the request, nor provided an account.



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                                       Count Six – Demand for an Accounting
                                       (Charley & Ether Mosley Corporation)

         119.       Plaintiffs reallege and incorporate each and every foregoing and following paragraph.

         120.       In a letter dated November 16, 2018, Plaintiff alerted the Corporation’s representative (Ms.

White) that someone had been intercepting Ms. Green’s checks and depositing them into a JP Morgan

Chase Bank account, using forged endorsements.

         121.       In that letter, Plaintiff asked for a formal accounting of the Corporation, citing Yeaman v.

Galveston City Co., 173 S.W. 489 (Tex. App. 1911).

         122.       Defendants did not respond to the request.

         123.       On multiple occasions, Plaintiff asked whether there was an innocent explanation of why

Pat White was taking and depositing Ms. Green’s checks.

         124.       No explanation was ever provided.

         125.       Furthermore, the State of Texas now lists that the Corporation’s “Right to Transact

Business in Texas” is “FORFEITED.”1

         126.       For these reasons, and because of all the other discrepancies described in this Complaint,

Plaintiff requests a formal accounting of the Corporation.

                    Count Seven – Negligent and/or Intentional Infliction of Emotional Distress
                                          (Ms. White and Mr. Mosley)

         127.       Plaintiffs reallege and incorporate each and every foregoing and following paragraph.

         128.       In May 2019, Defendants caused eviction proceedings to be initiated against Plaintiff from

her long-time home.

         129.       But Defendants do not own that parcel of land that Plaintiff lives on. Nor does Dayton

Mosley, in whose name the eviction proceeding was brought. Instead, the land is owned by the family



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    https://mycpa.cpa.state.tx.us/coa/coaSearchBtn


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estate.

      130.       Defendants knew this, because they had attempted once before to evict Plaintiff, and failed

because Plaintiff has an equal claim to occupy the land.

      131.       But knowing that it was wrongful, Defendants sought again to evict Plaintiff in May 2019

in retaliation for her investigation into their mismanagement and fraud.

      132.       Thus, Defendants sought to evict an old, sick woman, from land that she has the right to

live on, in retaliation for her exposing their misconduct.

      133.       This conduct was extreme and outrageous, and was committed with Defendants knowing

that the emotional distress suffered by Plaintiff would be severe.

      134.       Defendants acted with at least negligence with regard to these acts.

      135.       And Defendants desired or acted with recklessness to inflict severe emotional distress or

knew that severe emotional distress would be certain or substantially certain to result from their conduct.

           Count Eight – Violation of Rights Under Louisiana Unfair Trade Practices Act
                                       (Ms. White and Mr. Mosley)

          136.   Plaintiffs reallege and incorporate each and every foregoing and following paragraph.

          137.   Unfair or deceptive acts in commerce are illegal under the Louisiana Unfair Trade Practices

Act. LA RS 51:1401 et seq. Unlawful conduct under the statute includes conduct that involves “fraud,

misrepresentation, deception, breach of fiduciary duty, or other unethical conduct.” Tyler v. Rapid Cash,

LLC, 40,656 (La. App. 2 Cir. 5/17/06), 930 So. 2d 1135, 1140, quoting A & W Sheet Metal, Inc. v. Berg

Mechanical, Inc., 26,799 (La.App.2d Cir.4/5/95), 653 So.2d 158.

          138.   Here, Defendants engaged in acts, as described above, which constitute breaches of

fiduciary duty in commerce.

          139.   For example, they sold natural resource rights to third parties, and then stole Plaintiff’s

share of the proceeds.

          140.   They posted a false address for the LLC, preventing Plaintiff from inspecting the records.



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         141.   Knowingly engaging in unfair or deceptive practice subjects one to treble damages, as well

as attorney’s fees and costs. La. R.S. 51:1409.

                               Count Nine - State Law Direct Action Claim
                                   (ABC Insurance Companies 1-10)

     142.       Plaintiffs reallege and incorporate each and every foregoing and following paragraph.

     143.       Defendant ABC Insurance Companies 1-10, upon information and belief, have issued

and/or currently have in effect one or more policies of insurance covering one or more of the Defendants

named herein. For valuable consideration received, these policies obligated Defendant ABC Insurance

Companies 1-10, jointly and/or severally, to pay on behalf of their insured Defendant any sums the

insured Defendant may become obligated to pay to Plaintiff or to indemnify their insured Defendant for

any sums the insured Defendant may become obligated to pay Plaintiff.

     144.       By reason of their illegal acts, Defendants are liable to Plaintiff for all damages and

injuries. Upon information and belief, Defendant ABC Insurance Companies 1-10 are contractually

obligated to pay these sums on behalf of the insured Defendant.

     145.       Upon information and belief, Defendant ABC Insurance Companies are liable to

Plaintiffs for any and all damages incurred by reason of the insured Defendant’ acts, up to their policy

limits, notwithstanding the fact that the insured Defendant may themselves be able to assert claims of

privilege or immunity from liability.

     146.       Under Louisiana Revised Statute § 22:655(B), Plaintiff brings a direct action against

Defendant ABC Insurance Companies 1-10 to recover any and all sums they are obligated to pay

Plaintiff on behalf of their insureds or to indemnify their insureds.

   II.      RELIEF REQUESTED

     147.       The Plaintiff requests a trial by jury.

     148.       Wherefore Plaintiff requests judgment be entered against Defendants and that the Court

grant the following:



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 a. Declaratory relief;

 b. Judgment against Defendants for Plaintiff’s asserted causes of action;

 c. Award of compensatory damages;

 d. Award of special damages;

 e. Award costs and attorney’s fees;

 f. Injunctive relief (including an accounting per Texas law and La. R.S. 12:1319(B)(3), and an

    accounting of mandate per Article 3003 of Louisiana’s Civil Code);

 g. Interest;

 h. Order such other and further relief, at law or in equity, to which Plaintiff may be justly entitled.

                                    Respectfully submitted,

                                    LIDA GREEN, by and through her counsel,

                                    /s/ William Most__________
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